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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                   Plaintiff,

         v.                                CRIMINAL NO. 1:17CR32-22
                                                (Judge Keeley)

  AMANDA MADDOX,

                   Defendant.

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 669),
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

         On October 19, 2017, the defendant, Amanda Maddox (“Maddox”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count Seventy-Two

  of the Indictment.       Maddox stated that she understood that the

  magistrate judge is not a United States district judge, and

  consented to pleading before the magistrate judge.          This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of   administering    the   allocution   pursuant   to   Federal   Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

         Based upon Maddox’s statements during the plea hearing and the

  government’s proffer establishing that an independent factual basis

  for the plea existed, the magistrate judge found that Maddox was

  competent to enter a plea, that the plea was freely and voluntarily
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       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
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  given, that she was aware of the nature of the charges against her

  and the consequences of her plea, and that a factual basis existed

  for the tendered plea. On October 19, 2017, the magistrate judge

  entered an Report and Recommendation Concerning Plea of Guilty in

  Felony Case (“R&R”) (dkt. no. 669) finding a factual basis for the

  plea and recommended that this Court accept Maddox’s plea of guilty

  to Count Seventy-Two of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Maddox’s guilty plea, and ADJUGES her GUILTY of the crime

  charged in Count Seventy-Two of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



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        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 669),
          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

         1.   The Probation Officer shall undertake a presentence

  investigation of Maddox, and prepare a presentence report for the

  Court;

         2.   The Government and Maddox shall provide their versions of

  the offense to the probation officer by November 13, 2017;

         3.   The presentence report shall be disclosed to Maddox,

  defense counsel, and the United States on or before January 15,

  2018;    however,   the   Probation   Officer   shall   not   disclose   any

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

         4.   Counsel may file written objections to the presentence

  report on or before January 29, 2018;

         5.   The Office of Probation shall submit the presentence

  report with addendum to the Court on or before February 6, 2018;

  and

         6.   Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the




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       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 669),
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

  factual basis from the statements or motions, on or before February

  6, 2018.

        The magistrate judge remanded Maddox to the custody of the

  United States Marshal Service.

        The   Court   will   conduct    the    sentencing    hearing      for   the

  defendant   on   Friday,   February    23,    2018   at   2:30   P.M.    at   the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: November 3, 2017


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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